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                             UNITED STATES DISTRICT COURT
                             SO UTHERN DISTRICT O F FLO RIDA

                   CASE N O.12-81033-CIV-M IDDLEBROO KSœ M NNON

  SECURITIES AND EXCHANGE COM M ISSION ,

                Plaintiff,

  V.


  JOSEPHHILTON//G JOSEPH YURKIN
  PACIFIC NORTHW ESTERN EN ERGY LLC,eta1.,
                                            .
                                                ,




                Defendants.
                                                     /

       ORDER APPROVING RECEIVER 'S FINAL STATUS REPO RT AND GRANTING
                    RECEIVER'S M OTION TO CLOSE RECEIVERSH IP
         THIS CAU SE com esbeforethe Courton the Receiver's FinalStatusReportand M otion

  to CloseReceivership,filed April14,2017.(DE 216).TheCourthasreviewed,approvesand
  accepts the Final Status Report,and further finds that once the Receiver has completed the

  remainingtasksidentified intheFinalStatusReport(DE 215),David S.M andelwillhavefully
  satisfied hisobligations asReceiverin this m atter. M oreover,the Courthas review ed the M otion

  to Closefiled by the Receiverand specifically grantseach motion madetherein.

         Accordingly,itishereby ORDERED and ADJUDGED thatthe Receiver's M otion to

  ClosetheReceivership andto relieve the Receiverofal1furtherobligationsin thismatter(DE
  20l6)isGRANTED.Afterthe Receiverhascompleted the obligationssetforth in thisOrder,
  and has taken any other steps the Receiverbelieves is necessary and proper to conclude his

  duties as Receiver,D avid S.M andelshallbe relieved of al1further obligations as Receiver for

  Defendants Pacific Northwestern Energy LLC, Rock Castle Drilling Fund LP,Rock Castle

  Drilling Fund 11LP,and Rock Castle Drilling Fund IIILP,the Receivership Entities,and this
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  Receivership shallbe term inated. Atthattime,the Receivershallfile a notice ofcompletion of

  duties with this Courtand the Receivership shallbe deemed terminated as of the date ofthat

  notice.Atthattime,theCourtwillenteran orderadministratively closingthism atter.

        DONE AND ORDERED inChambers,atWestPalm Be ,Floria,thisZZ dayof
  M ay,2017.


                                                   0    D M .M IDDLEBROOKS
                                                  UNITED STATES DISTRICT JUDGE
  Copiesfurnishedto: CounselofRecord
